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 8                             UNITED STATES DISTRICT COURT
 9                            EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                    No. 2:16-cr-00038-MCE
12                    Plaintiff,
13          v.                                    MEMORANDUM AND ORDER
14   JAMAL SHEHADEH,
15                    Defendant.
16

17         The Court is in receipt pro se Request for Equitable Tolling to file 28 U.S.C.

18   § 2255. ECF No. 406. Defendant is represented by counsel in pursuit of his claims on

19   appeal. Accordingly, the Court cannot accept filings from Defendant himself. That

20   Request is hereby STRICKEN and will be disregarded.

21         IT IS SO ORDERED.

22   Dated: February 27, 2019

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